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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 09-

 

DRACUT SCHOOL COMMITTEE,
Plaintiff . - ,

Vv. we cay

BUREAU OF SPECIAL EDUCATION mae oxy
APPEALS OF THE ce ys TE
MASSACHUSETTS DEPARTMENT So
OF ELEMENTARY AND ie a3
SECONDARY EDUCATION, w:
MASSACHUSETTS DEPARTMENT
OF ELEMENTARY AND
SECONDARY EDUCATION, .
PA.” AND C-A.
Defendants

 

 

COMPLAINT FOR JUDICIAL REVIEW OF
FINAL DECISION OF STATE ADMINISTRATIVE AGENCY

Jurisdiction

1. This is a complaint for judicial review of a final Decision of the Defendant
Bureau of Special Education Appeals of the Massachusetts Department of Education,
pursuant io 20 U.S.C. $1415(1}(2) of the Individuals with Disabilities Education Act
IDEA).
The Parties

2. Plaintiff is the Dracut School Committee, a body politic and corporate as
established under the laws of the Commonwealth of Massachusetts, with a usual place of

business Jocated at 2063 Lakeville Avenue, Dracut, Massachusetts (hereinafter “Dracut”).

 

 
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3. Defendant Bureau of Special Education Appeals of the Massachusetts
Department of Elementary and Secondary Education has a usual olace of business at 75
Pleasant Street, Maiden, Massachuseits.

4. Defendant Massachusetts Department of Elementary and Secondary

Education has a usual place of business at 75 Pleasant Street, Malden, Massachusetts.

s, Defendant, C.A. , resides in Dracut, Massachusetts (hereinafter
“Student’’).
6. Defendant,’ P.A- , resides in Dracut, Massachusets (hereinafter

“Parent’’) arid is the parent of. C.A.
Cause of Action

7. The Student, nineteen (19) years old, attended Dracut High School from
the fall of 2004, his freshman year, through June of 2008, his senior year.

8. On or about January 2006, Dracut found the student eligible to begin
receiving special education and related services. Prior to that time, the Student was
eligible for and received an accommodation plan pursuant to Section 504 of the
Rehabilitation Act.

g. The Student's principal diagnosis is Asperger's Syodrome. The Student
has also been diagnosed with Attention Deficit Hyperactivity Disorder and an anxiety
disorder,

10. While the Student attended Dracut High School, the Student had three
Individual Education Plans (TEPs). Each YEP included a transition plan.

Li. While Student attended Dracut Hizh School, the Student took college-

preparatory classes, including a college preparatory level science class which utilized pre-

 
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college text, and received a grade of A plus. The Student was observed to function at a
very high level, was engaged, and worked on-task.

12. While Student attended Dracut High School, he was a member of the track
team dunng his junior and senior years. Through participation on the track team, the
Student created a social group with whom he socialized during school, Dracut’s staff
observed him to appropriately interact with peers and staff. The Student’s track
teammates awarded the Student the “Team Spirit” Award at the end of his junior year.

He received the Fran Kelley Award in his senior year, an honor given to a student whose
participation in track has helped overcome obstacles.

13. During the Student’s senior year at Dracut High School, he successfully
participated in a gym mentoring program four (4) tumes per week for one (1) semester.
Student was responsible for leading stretching exercises, organizing equipment,
explaining the rules, and acting as referee.

!4. During the Student’s senior year at Dracut High School, Dracut facilitated
the Student’s employment at a private credit union located within Dracut High School for
fifty (50} minutes three times per week, and at ttmes an additional ninety (90) minutes per
week. Student successfully learned to make deposits and withdrawals for bank
customers. He was observed to work well with others, including members of the public
who utilized the bank.

15. During the Student’s senior year at Dracut High School, he also
participated in a technology intemship for ninety (90) minutes, one time per week. The
internship consisted of meeting with Dracut’s technology coordinator, assessing,

troubleshooting, and repairing computers by replacing or installing software or hardware.

 

 
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Student was noted to follow directions, be polite, and demonstrate excellent behavior
while interacting with adults.

16. The Student received three scholarship awards in 2008, which he was
awarded at Dracut High School’s “Pride Night.”

17. During the time the Student attended Dracut High School, he consistently
informed Dracut staff that his primary focus regarding transition planning was to attend
college and work with computers.

18. By June of 2008, the Student had completed alf state and local graduation
requirements. Dracut staff agreed that the Student was prepared to leave Dracut High
School and attend college.

19. The Student has continued his education at Middlesex Community
College during the 2008-2009 school year. He takes public transportation to college and
attends classes twice per week.

20, Onor about May 29, 2008 the parent filed a Request for Hearing with the
Bureau of Special Education Appeals of the Massachusetts Department of Elementary
and Secondary Education seeking a finding that Dracut had failed te provide appropriate
transition services, and that Dracut must continue to provide transition services to the
student as well as compensatory transition services.

21. The Parent also contested Dracut’s decision to graduate the Student in
June of 2008 and sought an emergency “stay-put” Order allowing the Student to
participate in graduation ceremonies without accepting his diploma. On June 6, 2008, the
hearing officer ruled that the Student would be allowed to participate in graduation

exercises, decline his diploma, and retain his substantive and procedural rights to a free

 

 

 
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and appropriate public education until resolution of the Parent’s Request for Hearing.
The hearing officer further found that the Student’s last agreed upon educational program
and placement (ic. “stay-put” placement) was the Student's then-current LEP.

22. On or about December 11, 2008, January 22, 2009, and February 2, 2009
the defendant, the Bureau of Special Education Appeals of the Massachusetts Department
of Elementary and Secondary Education, conducted an administrative due process
hearing relative to the defendant Parent’s Request for Hearing.

23. At the hearing, testimony regarding the Student’s progress and success at
Dracut High School was undisputed, including that the Student had achieved all local and
state requirements for graduation.

24, At the hearing, the Student/Parent presented testimony from Mary Elisa
Abele, a speech and language pathologist who privately evaluated the Student in January
of 2005 and March of 2007 for the purpose of assessing the Student’s pragmatic language
abilities. Ms. Abele testified that the Student had pragmatic language deficits and that
she had recommended direct services to the Student’s IEP team, however the IEP team
declined to adept her recommendations. Dracut presented testimony that the Student’s
IEP team declined to adopt Ms. Abele’s recommendations because the Dracut staff
observed the Student to be successful in school and concluded that direct pragmatic
language services were not needed.

25. At hearing, the Student/Parent also presented testimony from a private
consultant, Michele Mayer, who conducted a “readiness-to-graduate” assessment of the
Student in October of 2008. Ms. Mayer testified as to her opinion that the Student was

not prepared to graduate from high school and would benefit from additional services in

 

 
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order to be ready to graduate. She also recommended additional testing of the Student’s
social skills.

26. On or about March 13, 2009, the defendant Bureau of Special Education
Appeals of the Massachusetts Department of Elementary and Secondary Education issued
a Decision, wherein the defendant Bureau of Special Education Appeals of the
Massachusetts Department of Elementary and Secondary Education found that “[i]t is
undisputed that Student has met all of Dracut’s and Massachusetts’ requirements for
graduation from high school.” (See Decision, attached hereto as Exhibit 1, at 39). The
hearing officer further stated that, “Dracut may (and should) grant the Student his high
schoo! diploma at this time.” /d. at 40.

27. Despite the hearing officer’s finding that the Student had met all local and
state requirements for graduation and that Dracut may and should graduate the Student
from high school, the hearing officer ordered that “Dracut shall provide student with
extended special education eligibility for purposes of receiving two years of additional
transition services and (during the same time period) two years of services for older
students under Massachusetts special education regulations,” /d. at 41.

28. The hearing officer ordered Dracut to convene an IEP team meeting for
purposes of developing a new transition plan within thirty (30) days of the date of
Decision, with services under the new transition plan and services for older students to
commence within sixty (60) days of the date of the Decision and to continue for two (2}
years thereafter. /d. at 41.

29, The hearing officer further ordered Dracut to provide transition services

and services for older children consistent with the Decision including: (1) pragmatic

 

 

 
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language instruction; (2) development of organizational skills; (3) vocational training that
includes placement and support within three or four worksites in the community; (3)
travel instruction; (4) and a comprehensive social skills assessment. Jd. at 41.

30. Finally, the hearing officer ordered Dracut to hire and compensate the
student/parent’s expert witnesses, Mary Elsa Abele and Michele Mayer, for sufficient
consultation time so that they may (1) provide consultation to Dracut to assist in the
development of the transition plan that complies with the Decision, (2) advise Dracut
during the two-year period of extended eligibility regarding the need for any
modifications to Dracut's proposed transition plan, and (3) advise Dracut regarding the
appropriate implementation of its transition plan. In the event that Ms. Abele and Ms.
Mayer are not able to provide the consultation, then the hearing officer ordered Dracut to
retain substitute consultants who are recommended by Ms. Abele or Ms. Mayer. /d. at
42.

31, The Plaintiff, Dracut School Committee, is aggrieved by the Defendant
Bureau of Special Education Appeals of the Massachusetts Department of Elementary
and Secondary Education’s Decision of March 13, 2009, in that the Decision is incorrect
as a matter of law, is not supported by a preponderance of the evidence, is arbitrary and
capricious, and is unwarranted by the facts of the record.

WHEREFORE, the Plaintiff, the Dracut School Committee, prays that this Court
affirm the hearing officer’s finding that the Student met all of Dracut’s and
Massachusetts’ requirements for graduation and that Dracut may and should graduate the
Student from high school; and reverse the finding of the Defendant Bureau of Special

Education Appeals of the Massachusetts Department of Elementary and Secondary

 

 

 
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Education with respect to the Order requiring Dracut to provide the student with two (2)

years of additional transition services, to extended special education eligibility for

purposes of receiving two (2) years of additional transition services and with respect to

the Order requiring Dracut to hire and compensate the Parent’s expert witnesses or

substitute consultants recommended by the Parent's expert witnesses; and award the

Plaintiff such other and further relief as the Court deems just and appropriate.

Dated: June 8, 2009

The Defendant,
Dracut Public Schools
By its attorneys,

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A LAA

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UNITED STATES DISTRICT COURT ef} cc D

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Plo. 150, 152, 153.

3. Title and number, if any, of related cases. (See (octal rule 40.1(g}). If more than one prior related case has been filed in this
district piease indicate the Utle and number of the first filed case in this court

John Doe, atal. v. Dracut Public Schools, CA No.: 09-10561-PBS

 

4, Has a prior action between the same parties and based on the same claim aver been filed in this court?

YES L] NO

8. Does the complaint in this case question the canstitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
ves [ | NO
ves [_ | no [_]

6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §22847

YES [J NO

7. Do all of tha parties in this action, sxciuding governmental agencies of the united states and the Commonwealth of
Massachusetts ("governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule 40.1{d)).

YES no fF |

lf so, is the U.S.A. or an officar, agent or employee of the U.S. a party?

A. If yes, in which division do ail of the non-governmental parties reside?
Eastern Division iv! Central Division PT Western Division []
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
residing in Massachusetts reside?
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8. If filing a Notice of Removal - are thers any motions pending in the state court requiring the attention of this Court? (if yes,
submit a Separate sheet identifying the motions) ¥ES a No TJ
(PLEASE TYPE OR PRINT}

ATTORNEY'S NAME Catherine L. Lyons
ADDRESS Sullivan, Nuttall & MacAvoy, 1020 Plain Street, Suite 270, Marshfield, MA 02050
TELEPHONE NO. 781-837-7428

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herem neither replace nor Supplement the filing and service of pleadings or other papers as requrred by law, except as provided
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I. (a) PLAUENTIFFS
Dracut School Committee

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DEFENDANTS! © TF ECE

Bureau of Special Education Appeals of the Mass.
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Catherine L. Lyons, Amy M. Rogers, Sullivan, Nuttall & MacAvay,
1020 Plain Street, Suite 270, Marshfield, MA 02050 781-837-742

 

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VI. CAUSE OF ACTION

Brief deseripuon of cause ,
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YIII, RELATED CASE(S) (See mstrveuans)
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DATE SIGNATURE OF ATTORNEY OF RECORD
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FOR OFFICE USE ONLY

AMOUNT APPL YING IFP JUDGE MAG. JUDGE

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